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                                       EXHIBIT A

                                    PROPOSED ORDER




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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

         In re:                                                      Chapter 11

         WOODBRIDGE GROUP OF COMPANIES,                              Case No. 17-12560 (KJC)
         LLC, et al.,1
                                                                     (Jointly Administered)
                  Debtors.
                                                                     Ref. Docket Nos.



             ORDER (I) AUTHORIZING THE SALE OF 4030 MADELIA AVE., SHERMAN OAKS,
               CALIFORNIA PROPERTY OWNED BY THE DEBTORS FREE AND CLEAR OF
              LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS; (II) APPROVING
              RELATED PURCHASE AGREEMENT; AND (III) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”)2 filed by the above-captioned debtors and debtors in

         possession (collectively, the “Debtors”) in these chapter 11 cases (the “Chapter 11 Cases”) for

         entry of an order (i) authorizing the sale (the “Sale”) of real property owned by the Debtor

         Doubleleaf Investments, LLC (the “Seller”) located at 4030 Madelia Ave., Sherman Oaks,

         California 91403 (the “Land”), together with Seller’s right, title, and interest in and to the

         buildings located thereon and any other improvements and fixtures located thereon (collectively,

         the “Improvements” and together with the Land, the “Real Property”), and any and all of the

         Seller’s right, title, and interest in and to the tangible personal property and equipment listed in

         the Purchase Agreement and remaining on the Real Property as of the date of the closing of the

         Sale (collectively, the “Personal Property” and, together with the Real Property, the “Property”)

         on an “as is, where is” basis, free and clear of any and all liens, claims, encumbrances, and other

         1
                  The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603.
         The mailing address for Woodbridge Group of Companies, LLC is 14140 Ventura Blvd #302, Sherman Oaks,
         California 91423. Due to the large number of debtors in these cases, which are being jointly administered for
         procedural purposes only, a complete list of the Debtors, the last four digits of their federal tax identification
         numbers, and their addresses are not provided herein. A complete list of this information may be obtained on the
         website of the Debtors’ noticing and claims agent at www.gardencitygroup.com/cases/WGC, or by contacting the
         undersigned counsel for the Debtors.
         2
                  Capitalized terms used but not defined herein have the meaning assigned to such terms in the Motion.
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         interests to Sharon Gabay and Ayalla Ben Ami (together with any assignee, the “Purchaser”)

         pursuant to the terms and conditions of that certain Vacant Land Purchase Agreement and Joint

         Escrow Instructions dated as of October 11, 2018 (as has been or may be amended,

         supplemented, or otherwise modified from time to time, the “Purchase Agreement”) by and

         between the Seller and the Purchaser, a copy of which is attached as Exhibit 1 hereto;

         (ii) authorizing and approving the terms of the Purchase Agreement, and (iii) granting certain

         related relief; and the Court having jurisdiction to consider the Motion and the relief requested

         therein in accordance with 28 U.S.C. §§ 157 and 1334; and the Court having found that the legal

         and factual bases set forth in the Motion and the Declaration of Bradley D. Sharp in Support of

         Debtors’ Motion to Sell 4030 Madelia Ave., Sherman Oaks, California Property establish good

         and sufficient cause for granting the Motion; and it appearing that the relief requested in the

         Motion is appropriate in the context of these Chapter 11 Cases and in the best interests of the

         Debtors and their respective estates, their creditors, and all other parties-in-interest; and it

         appearing that notice of the Motion was adequate and proper under the circumstances of these

         Chapter 11 Cases, and that no other or further notice need be given; and after due deliberation

         and sufficient cause appearing therefor,

                 IT IS HEREBY ORDERED THAT:

                 1.      The Motion is GRANTED as set forth herein.

                 2.      The Purchase Agreement is authorized and approved in its entirety.

                 3.      Pursuant to sections 105 and 363 of the Bankruptcy Code, the Debtors are

         authorized, in their discretion and in the exercise of their business judgment, to sell the Property

         pursuant to the Purchase Agreement free and clear of all liens, claims, interests, and

         encumbrances, to perform all obligations under the Purchase Agreement (including payment of


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         the Broker Fee and the Other Closing Costs out of the proceeds of the Sale), and to take any

         other reasonable actions that may be necessary in the Debtors’ good faith business judgment to

         effectuate closing of the Sale, and that any actions taken by the Debtors necessary or desirable to

         consummate such transactions prior to the entry of this Order are hereby ratified.

                4.      The Debtors and any intermediary financial institution, title company, and closing

         attorney participating in the closings of the Sale are authorized to transfer title and deed property,

         and take any other actions as may be necessary to transfer ownership of the Property to the

         Purchaser.

                5.      All persons and entities holding liens, claims, interests or encumbrances with

         respect to the Property are hereby barred from asserting such liens, claims, interests or

         encumbrances against the Purchaser, its successors or assigns, or the Property.

                6.      All proceeds of the Sale (net of the Broker Fee and Other Closing Costs) shall be

         treated by the Debtors in accordance with the Final Order on Debtors’ Motion for Entry of

         Interim and Final Orders (I) Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 507, and 552

         Authorizing Debtors to (A) Obtain Postpetition Secured Financing, (B) Use Cash Collateral,

         (C) Grant Adequate Protection to Prepetition Secured Parties; (II) Modifying the Automatic

         Stay; (III) Scheduling a Final Hearing Pursuant to Bankruptcy Rules 4001(b) and 4001(c); and

         (IV) Granting Related Relief [D.I. 724].

                7.      The Debtors are authorized and empowered to pay the Broker Fee to Douglas

         Elliman in an amount not to exceed 4% of the gross sale proceeds out of such proceeds.

                8.      The Purchase Agreement is undertaken by the Debtors and Purchaser in good

         faith and that, pursuant to section 363(m) of the Bankruptcy Code, the reversal or modification




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         on appeal of any sale consummated pursuant to the terms of this Order shall not affect the

         validity of such sale unless such sale was stayed pending appeal.

                9.      Filing of a copy of this Order in the county in which the Property is situated may

         be relied upon by all title insurers in order to issue title insurance policies on the Property.

                10.     Any title insurer, escrow agent, or other intermediary participating in a closing of

         the Sale of the Property is authorized to disburse all funds at the closing of the Sale pursuant to

         the applicable settlement statement or escrow instructions provided by the parties to such Sale.

                11.     The Debtors shall be authorized and empowered to take any necessary actions to

         implement and effectuate the terms of this Order.

                12.     The terms and conditions of this Order shall be immediately effective and

         enforceable upon its entry notwithstanding any applicability of Bankruptcy Rule 6004(h).

                13.     The terms and provisions of this Order and any actions taken pursuant hereto shall

         (i) survive entry of any order converting the Debtors’ cases to chapter 7 or dismissing the

         Debtors’ cases (or any of them), and (ii) continue in this or any superseding case under the

         Bankruptcy Code of any of the Debtors.

                14.     The provisions of this Order shall be binding upon the Debtors and their

         successors and assigns, including, without limitation, any trustee or other fiduciary hereafter

         appointed as legal representative of the Debtors or with respect to property of the estates of the

         Debtors, whether under chapter 11 of the Bankruptcy Code, any confirmed plan, or any

         subsequent chapter 7 case.

                15.     Notice of the Motion as provided therein shall be deemed good and sufficient

         notice of such motion and to have satisfied Bankruptcy Rule 6004(a).




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                16.     This Court shall retain jurisdiction and power with respect to all matters arising

         from or related to the interpretation and implementation of this Order.



         Dated: ____________________, 2018
                Wilmington, Delaware

                                                          KEVIN J. CAREY
                                                          UNITED STATES BANKRUPTCY JUDGE




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                                         Exhibit 1

                                    Purchase Agreement




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                                                                                                                            October 15, 2018
                                               X
                  October 11, 2018                                             4030 Madelia Ave, Sherman Oaks, CA 91403-4625
                                                                      Sharon Gabay and or assignee
                                                                   DOUBLELEAF INVESTMENTS LLC




              1.) Purchase price to be $850,000
              2.) Escrow to be 45 days
              3.) All Buyer Contingencies to be removed by 10/26/2018.




                                                                                                               X                One




                                                                                            DOUBLELEAF INVESTMENTS LLC                    10/15/2018




                                                                        Sharon Gabay and or assignee




    El Camino, 150 El Camino Dr Suite 150 Beverly Hills CA 90212                                       (310) 595-3888    (310) 861-1395     4030 Madelia Ave
    Max Hutchison
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                             ADDENDUM NO. 1 TO SELLER COUNTER OFFER NO. 1

                     THIS ADDENDUM NO. 1 TO SELLER COUNTER OFFER NO. 1 (this “Addendum”)
            is attached to and made a part of that certain Seller Counter Offer No. 1 dated as of October 12,
            2018 (together with this Addendum, collectively, the “Seller Counter Offer No. 1”), which is a
            counter offer to the C.A.R. Form California Residential Purchase Agreement and Joint Escrow
            Instructions dated as of October 11, 2018 (the “Offer”), by and between SHARON BABAY
            AND/OR ASSIGNEE (“Buyer”), and DOUBLELEAF INVESTMENTS LLC, a Delaware limit
            liability company (“Seller”), with respect to that certain real property located at 4030 Madelia
            Ave, in the City of Sherman Oaks, County of Los Angeles, State of California and identified by
            Assessor’s Parcel Number 2276-034-028 (the “Property”). The Offer and the Seller Counter
            Offer No. 1 are collectively referred to herein as the “Agreement”. Each capitalized term not
            otherwise defined herein shall have the meaning ascribed to it in the Offer. To the extent that this
            Addendum conflicts with the Offer, the terms of this Addendum shall control and take precedence
            over the terms of the Offer. Buyer and Seller may be referred to herein each individually as a
            “Party” and collectively as the “Parties”.

                    1.      Bankruptcy Court Approval; Close Of Escrow. Seller is currently the subject of
            bankruptcy proceedings pending in the United States Bankruptcy Court for the District of
            Delaware (the “Bankruptcy Court”) under case number 17-12560 (KJC) (the “Bankruptcy
            Proceedings”) and, therefore, the Agreement is subject to the approval of the Bankruptcy Court
            as more specifically set forth herein. The Close Of Escrow shall take place as soon as practicable
            after the entry of an order by the Bankruptcy Court approving the sale of the Property pursuant to
            the Agreement (the “Sale Order”), but no later than fourteen (14) days following the entry of the
            Sale Order (or the first business day thereafter, if such 14th day is not a business day) (the “Closing
            Date”), or on such later date as Buyer and Seller may mutually agree in writing; provided,
            however, Seller shall have the right to extend the Closing Date by up to an additional five (5)
            business days upon delivery of written notice to Buyer. Subject to the provisions of Paragraph
            21.B. of the Offer, if the Close Of Escrow does not occur on or before the Closing Date, Escrow
            Holder shall, unless it is notified by both Parties to the contrary within five (5) days after the
            Closing Date, return to the depositor thereof items which may have been deposited hereunder.
            Any such return or termination, shall not, however, relieve either Party of any liability it may have
            under the terms of the Agreement for its wrongful failure to close.

                    2.      Bankruptcy Sale. Buyer acknowledges that (i) Seller is a currently a “debtor-in-
            possession” in the Bankruptcy Proceedings, and (ii) the Agreement is subject to notice to creditors
            and the approval of the Bankruptcy Court. Buyer acknowledges that, in order to obtain Bankruptcy
            Court approval of the Agreement, Seller must demonstrate that it has taken reasonable steps to
            obtain the highest or otherwise best offer possible for the Property. Buyer further acknowledges
            and agrees that Seller may decide not to seek the Bankruptcy Court’s approval of the Agreement,
            if Seller determines that to do so would be inconsistent with its fiduciary duties, and, upon such
            determination, Seller may terminate this Agreement. If Seller is not able to obtain Bankruptcy
            Court approval of the Agreement, then Seller shall have the right to terminate the Agreement by
            delivering written notice of termination to Buyer. Upon any termination of the Agreement
            pursuant to this Section, Escrow Holder shall return the Deposit to Buyer and neither Party shall
            have any further rights, duties or obligations hereunder.



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                  3.    ACCEPTANCE    OF    PROPERTY      AS-IS,   WHERE-IS.  BUYER
            ACKNOWLEDGES AND AGREES THAT (I) SELLER HAS NEVER OCCUPIED THE
            PROPERTY AND, AS SUCH, SELLER IS NOT VESTED WITH KNOWLEDGE OF THE
            PROPERTY ORDINARILY EXPECTED OF A SELLER OF RESIDENTIAL PROPERTY,
            AND (II) BUYER WILL BE CONCLUDING THE PURCHASE OF THE PROPERTY BASED
            SOLELY UPON BUYER’S OWN INSPECTIONS AND INVESTIGATIONS OF THE
            PROPERTY, AND ON AN “AS-IS, WHERE-IS” BASIS, WITH ALL FAULTS, LATENT AND
            PATENT. WITHOUT LIMITING THE GENERALITY OF THE FOREGOING, BUYER
            ACKNOWLEDGES AND AGREES THAT NEITHER SELLER NOR ANY OF SELLER’S
            AGENTS OR REPRESENTATIVES HAS MADE, AND SELLER HEREBY EXPRESSLY
            DISCLAIMS AND NEGATES, ANY REPRESENTATIONS OR WARRANTIES OF ANY
            KIND WHATSOEVER, EITHER EXPRESS OR IMPLIED, ON WHICH BUYER IS RELYING
            AS TO ANY MATTER CONCERNING THE PROPERTY. BUYER ACKNOWLEDGES AND
            AGREES THAT (I) ANY INFORMATION PROVIDED OR TO BE PROVIDED WITH
            RESPECT TO THE PROPERTY BY OR ON BEHALF OF SELLER WAS OBTAINED FROM
            A VARIETY OF SOURCES, (II) SELLER HAS NOT MADE ANY INDEPENDENT
            INVESTIGATION OR VERIFICATION OF SUCH INFORMATION, (III) ALL SUCH
            INFORMATION HAS BEEN AND SHALL BE PROVIDED SOLELY AS AN
            ACCOMMODATION TO BUYER, (IV) SELLER MAKES NO REPRESENTATIONS OR
            WARRANTIES AS TO THE ACCURACY, TRUTHFULNESS OR COMPLETENESS OF
            SUCH INFORMATION, AND (V) SELLER IS NOT, AND SHALL NOT BE, LIABLE OR
            BOUND IN ANY MANNER BY ANY VERBAL OR WRITTEN STATEMENT,
            REPRESENTATION OR INFORMATION PERTAINING TO THE PROPERTY, OR THE
            CONDITION THEREOF, FURNISHED BY OR ON BEHALF OF SELLER OR ANY
            CONSULTANT, ADVISOR, ATTORNEY, REAL ESTATE BROKER, CONTRACTOR,
            AGENT, EMPLOYEE, OR OTHER PERSON. BUYER HEREBY UNCONDITIONALLY AND
            IRREVOCABLY WAIVES ANY AND ALL ACTUAL OR POTENTIAL CLAIMS OR RIGHTS
            AGAINST SELLER AND EVERY ENTITY AFFILIATED WITH SELLER AND ALL OF ITS
            AND THEIR RESPECTIVE PARTNERS, MEMBERS, MANAGERS, SUBSIDIARIES,
            AFFILIATES, OFFICERS, DIRECTORS, SHAREHOLDERS, EMPLOYEES, AGENTS,
            ATTORNEYS AND INDEPENDENT CONTRACTORS AND THE SUCCESSOR OF EACH
            AND EVERY ONE OF THEM (COLLECTIVELY, THE “SELLER PARTIES”) ARISING
            OUT OF THE INACCURACY OR INCOMPLETENESS OF ANY MATERIALS SO
            FURNISHED, ARISING OUT OF ANY ALLEGED DUTY OF THE SELLER PARTIES TO
            ACQUIRE, SEEK OR OBTAIN SUCH MATERIALS, ARISING OUT OF OR IN
            CONNECTION WITH THE ENVIRONMENTAL CONDITION OF THE PROPERTY AND
            ANY AND ALL ACTUAL OR POTENTIAL CLAIMS OR RIGHTS BUYER MIGHT HAVE
            REGARDING ANY FORM OF REPRESENTATION OR WARRANTY, EXPRESS OR
            IMPLIED, OF ANY KIND OR TYPE, RELATING TO THE PROPERTY. SUCH WAIVER IS
            ABSOLUTE, COMPLETE, TOTAL AND UNLIMITED IN ANY WAY.

                    4.       Buyer’s Remedies. If the transaction contemplated by the Agreement is not
            consummated by the Closing Date because of a default hereunder on the part of Seller, then
            Buyer’s sole and exclusive remedy by reason of such default by Seller shall be to terminate the
            Agreement, in which event neither Party shall have any further rights, duties or obligations under
            the Agreement and the Deposit shall be returned to Buyer. Buyer hereby expressly waives any
            and all rights to claim specific performance of the Agreement and to record a lis pendens upon the

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            Property. If the consummation of the transaction hereunder shall have occurred, Seller shall have
            no liability to Buyer (and Buyer shall make no claim against Seller) for a breach of any alleged
            representation or warranty, failure to disclose, or any other covenant, agreement or obligation of
            Seller, or for indemnification under the Agreement or any document executed by Seller in
            connection with the Agreement. The provisions of this Section 4 shall survive the Close Of Escrow
            and any earlier termination of the Agreement.

                    5.      Confidential. Buyer shall not disclose or permit to be disclosed to any third party,
            the terms or existence of the Agreement or the underlying transaction, any of the reports or any
            other documentation or information provided to or obtained by Buyer which relate to the Property
            (collectively, the “Confidential Information”) in any way without Seller’s prior written consent,
            which may be granted or withheld (i) in Seller’s sole and absolute discretion prior to the Close Of
            Escrow, or (ii) in Seller’s reasonable discretion after the Close Of Escrow. Notwithstanding the
            foregoing, Buyer shall have a right to disclose the Confidential Information: (i) to Buyer’s lenders,
            accountants, employees, attorneys and other agents upon whom Buyer will rely upon or consult
            with in making acquisition decisions in connection with the transaction contemplated herein,
            provided that (A) such parties have been advised of the confidential nature of the same and Buyer
            shall be responsible for such parties’ breach of the confidentiality restrictions set forth herein, and
            (B) all such Confidential Information shall be used by such parties solely in connection with the
            transaction contemplated hereby; and (ii) if obligated by law or legal process to make such
            disclosure, in which case Buyer shall provide Seller with written notice prior to any such
            disclosure. The provisions of this Section 5 shall survive the Close Of Escrow and any earlier
            termination of the Agreement.

                    6.       Miscellaneous. The Agreement may be amended or modified only by a written
            instrument executed by both Buyer and Seller. The Agreement shall be interpreted and enforced
            pursuant to the laws of the State of California and the United States of America including the Bankruptcy
            Code, Title 11, United States Code. The Bankruptcy Court shall have sole and exclusive jurisdiction to
            interpret and enforce the terms of the Agreement and the Parties hereby consent and submit to such
            exclusive jurisdiction. The Agreement may be executed in counterparts, each of which shall be
            deemed an original, and all of which, taken together, shall constitute one and the same instrument.
            In order to expedite matters, electronic signatures may be used in place of original signatures on
            the Agreement. The Parties intend to be bound by the signatures on the electronic document, and
            hereby waive any defenses to the enforcement of the terms of the Agreement based on the use of
            an electronic signature; provided, however, that the Parties hereby agree to execute and provide to
            each other original signatures, upon request made by either Party to the other. The invalidity or
            unenforceability of any one or more of the provisions of the Agreement shall not affect the validity
            of enforceability of any of the other provisions of the Agreement. The exhibits and schedules
            attached hereto are hereby incorporated by reference herein.

                                                   [Signature Page Follows]




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                    IN WITNESS WHEREOF, Seller and Buyer have executed this Addendum as of the
            respective dates set forth below.

            SELLER:

            ________________________,
            %06#-&-&"'*/7&45.&/54--$
            a ______________________
              %FMBXBSFMJNJUFEMJBCJMJUZDPNQBOZ



            By: _____________________              Date: ___________________
            Name: __________________
                    'SFEFSJDL$IJO
            Title: ___________________
                   $IJFG&YFDVUJWF0GGJDFS




            AGREED AND ACCEPTED BY:

            BUYER:

            ________________________,
            a ______________________


            By: _____________________              Date: ___________________
            Name: __________________
            Title: ___________________




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                                                                                                                     October 15, 2018
                                             X                        1
              October 15, 2018                                            4030 Madelia Ave, Sherman Oaks, CA 91403-4625
                       Sharon Gabay and or assignee                                         DOUBLELEAF INVESTMENTS LLC




              1.) Purchase price to be $730,000
              2.) Escrow to be 60 days
              3.) Per 19B - Buyer has 17 days to conduct Buyer Investigations.




                                                                                         Sharon Gabay and or assignee




                                                                   DOUBLELEAF INVESTMENTS LLC




    El Camino, 150 El Camino Dr Suite 150 Beverly Hills CA 90212                                (310) 595-3888   (310) 861-1395   4030 Madelia Ave
    Max Hutchison
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                                                                                                                     October 15, 2018
                                             X                        1
              October 15, 2018                                            4030 Madelia Ave, Sherman Oaks, CA 91403-4625
                       Sharon Gabay and or assignee                                         DOUBLELEAF INVESTMENTS LLC




              1.) Purchase price to be $730,000
              2.) Escrow to be 60 days
              3.) Per 19B - Buyer has 17 days to conduct Buyer Investigations.




                                                                                         Sharon Gabay and or assignee




                                                                   DOUBLELEAF INVESTMENTS LLC




    El Camino, 150 El Camino Dr Suite 150 Beverly Hills CA 90212                                (310) 595-3888   (310) 861-1395   4030 Madelia Ave
    Max Hutchison
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                                                                                                                           October 18, 2018
                                                                          X                      1
                  October 15, 2018                                             4030 Madelia Ave, Sherman Oaks, CA 91403-4625
                                                                      Sharon Gabay and or assignee
                                                                   DOUBLELEAF INVESTMENTS LLC




              1.) Purchase Price to be $800,000




                                                                                            DOUBLELEAF INVESTMENTS LLC                   10/18/2018




                                                                        Sharon Gabay and or assignee




    El Camino, 150 El Camino Dr Suite 150 Beverly Hills CA 90212                                       (310) 595-3888   (310) 861-1395     4030 Madelia Ave
    Max Hutchison
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                                                                                                                     October 18, 2018
                                             X                        2
              October 18, 2018                                            4030 Madelia Ave, Sherman Oaks, CA 91403-4625
                       Sharon Gabay and or assignee                                         DOUBLELEAF INVESTMENTS LLC




              1. Purchase price to be $750,000. Best and Final.




                                                                                         Sharon Gabay and or assignee




                                                                   DOUBLELEAF INVESTMENTS LLC




    El Camino, 150 El Camino Dr Suite 150 Beverly Hills CA 90212                                (310) 595-3888   (310) 861-1395   4030 Madelia Ave
    Max Hutchison
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                                    Case 17-12560-KJC                         Doc 3068-2        Filed 11/27/18      Page 17 of 48




    X
                                                          Sharon Gabay and or assignee




                                                           Douglas Elliman                                             01947727

                                                                                             01907904
                                                                             Max Hutchison




    DOUBLELEAF INVESTMENTS LLC




    El Camino, 150 El Camino Dr Suite 150 Beverly Hills CA 90212                                            (310) 595-3888        (310) 861-1395   4030 Madelia Ave
    Max Hutchison
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                                                                                DOUBLELEAF INVESTMENTS LLC

                                                                                   Sharon Gabay and or assignee

                                              Douglas Elliman                                                01947727              10/11/2018
                                                                                                             01907904
         Max Hutchison
                                              Douglas Elliman                                                01947727              10/11/2018
                                                                                                             01907904
         Max Hutchison




    El Camino, 150 El Camino Dr Suite 150 Beverly Hills CA 90212                            (310) 595-3888        (310) 861-1395    4030 Madelia Ave
    Max Hutchison
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                            October 11, 2018

                                                                                 Sharon Gabay and or assignee
                                                                      4030 Madelia Ave
                  Sherman Oaks                         Los Angeles                     91403-4625                              2276034028

                                                                   Seven Hundred Thousand
                                                                                                                          700,000.00
                                                                                                         X           90


                                                                                        X


                                                                   Douglas Elliman
                                                       X
                                                                     Douglas Elliman

                                                                                                                           X


                                                                                                                                              21,000.00


                                        (




              X




    El Camino, 150 El Camino Dr Suite 150 Beverly Hills CA 90212                                        (310) 595-3888     (310) 861-1395   4030 Madelia Ave
    Max Hutchison
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                                                                       X




                                                                       X
                                                                       X




                   X                                                                   X
                                                     MyNHD




              X         X                         Each to pay their own fees.
                                    Seller’s choice

                        X                                                                  As customary
                                              Seller's choice


                        X                                       As Customary
                        X                                    As Customary




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                 Sharon Gabay and or assignee




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                 DOUBLELEAF INVESTMENTS LLC




                                   Douglas Elliman                                               01947727
                                                  Max Hutchison           01907904



                                   Douglas Elliman                                               01947727
                                                     Max Hutchison        01907904




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